 Case 2:03-cr-00500-LRH-VCF           Document 559         Filed 01/03/07    Page 1 of 1



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 6                               UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                              *****
 9   UNITED STATES OF AMERICA,                     )
                                                   ) 2:03-cr-00500-LRH (LRL)
10                                Plaintiff,       )
                                                   ) ORDER
11   vs.                                           )
                                                   )
12   DARIO HERRERA,                                )
                                                   )
13                                Defendant.       )
                                                   )
14
15          Before the court is Defendant Herrera’s Motion to Extend Date for Voluntary Surrender
16   by Thirty Days (Doc. #556). The Government has opposed (Doc. #557).
17          The Defendant was sentenced on August 21, 2006, and given nearly five months to
18   surrender, to January 12, 2007. The grounds argued in support of an extension of Herrera’s
19   surrender are founded upon arguments of financial hardship and inconvenience. Given the
20   severity of the Defendant’s criminal offenses and a surrender date that was more than abundant
21   to prepare for incarceration, the motion is DENIED.
22          The Defendant shall surrender on or before noon on January 12, 2007.
23          IT IS SO ORDERED.
24          DATED this 3rd day of January, 2007.
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                                                 LARRY R. HICKS
28                                               UNITED STATES DISTRICT JUDGE
